                              UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN

        UNITED STATES OF AMERICA
                                                            ARRAIGNMENT AND PLEA MINUTES
                     v.
              LISA HOFSCHULZ                                        CASE NUMBER 18-Cr-145
             ROBERT HOFSCHULZ




HONORABLE William E. Duffin, presiding                               Court Reporter: FTR Gold
Deputy Clerk: Linda M. Zik                                           Hearing Began: 11:10:27 AM
Hearing Held: July 19, 2018 at 11:00 AM                              Hearing Ended: 11:22:14 AM

Appearances:
UNITED STATES OF AMERICA by: Zachary John Corey / Matthew Krueger / Michael Carter
Lisa Hofschulz, in person, and by: Brent D. Nistler                  CJA  FDS  RET
Robert Hofschulz, in person, and by: Jonathan C. Smith               CJA  FDS  RET
U.S. PROBATION OFFICE by: Hannah Graham
INTERPRETER:  None  Sworn

 Original Indictment     Superseding Indictment        Information     Misdemeanor       Felony

Speedy Trial Date:     September 27, 2018                   District Judge:   Pamela Peppr
Plea Deadline:                                              Magistrate Judge: William E. Duffin
Final Pretrial Report                                       Motions Due:
Final Pretrial Conf.:                                       Responses Due:
Jury Trial Date:                                            Replies Due:
Trial Length Estimate: 7-10 days


 Defendants advised of rights                           Open file policy applies
 Court orders counsel appointed                          Discovery available: after entry of Protective Order
   Defendant to reimburse at $ Amount per month           Court discussed availability for
 Defendants advised of charges, penalties, and fines         incarcerated defendants
 Copy of indictment received by defendants              Government to disclose grand jury materials
   Indictment read  defendant waives reading            one day prior to trial
 Not guilty pleas entered by:                           Case designated complex
   defendants  the court                               Scheduling Conference for Counsel Only:
                                                           July 27, 2018 at 2:30 PM
                                                          before Magistrate Judge William E. Duffin
Maximum Penalties:

Counts 1-14 – 20 years Imprisonment; $1,000,000 Fine; at least 3 years Supervised Release; $100.00 Special
Assessment
Forfeiture

Case designated COMPLEX at government’s request

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Lisa Hofschulz                                                                           18-Cr-145

Bond Status: Parties have the Pretrial Services Report

GOVT
  - Agrees with proposed conditions
  - Is a presumption case
  - Address danger to community by ordering she not prescribe opioids

DEFT
  - Agrees with condition to not prescribe opioids
  - Requests travel to California because her mother lives there; govt does not object

COURT imposes the following conditions of bond for Lisa Hofschulz:
  - No narcotic drugs unless prescribed
  - Surrender passport to Clerk of Court within 10 days
  - Travel restricted to FL, ED/WI and CA



Robert Hofschulz

Bond Status: Parties have the Pretrial Services Report


Court imposes the following conditions of bond for Robert Hofschulz:
  - No narcotic drugs unless prescribed
  - Surrender passport to Clerk of Court next week
  - Travel restricted to ED/WI and FL




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